                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
                                                    )       No. 3:11-CR-152
V.                                                  )       (VARLAN/SHIRLEY)
                                                    )
                                                    )
                                                    )
ANTHONY T. BELL                                     )

               ORDER OF CONTINUED DETENTION PENDING TRIAL

              This matter came before the Court on defendants’ initial appearance and

arraignment on an Indictment on January 24, 2012. Melissa M. Kirby, Assistant United

States Attorney, was present representing the government and Attorney Jonathan A. Moffat,

Federal Defender Services was present representing the defendant. The defendant was

present. The defendant previously had a detention hearing in the underlying criminal

complaint, Case No. 3:11-mj-2112 (Guyton) [Doc. 9] and the court found, the evidence and

other information provided at the hearing established by a preponderance of the evidence that

the defendant is a serious risk to not appear at trial, and by clear and convincing evidence that

the defendant presents a risk of harm to the community. Accordingly, no condition or

combination of conditions will reasonably assure the defendant’s presence for future court

appearances, or the safety of the community, if the defendant were to be released on bond.

Attorney Jonathan Moffatt stated that he would have to show a change in circumstances

under the statue before he would be requesting a detention hearing at this time.




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              Therefore, absent a request or finding, the court will continue the defendant’s

detention pending trial at this time.

              Accordingly, The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a correction facility separate, to

the extent practicable, from persons awaiting or serving sentences or being held in custody

pending appeal. The defendant shall be afforded a reasonable opportunity for private

consultations with defense counsel. On order of a court of the United States or on request

of an attorney for the government, the person in charge of the corrections facility shall

deliver the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

                      IT IS SO ORDERED.

                                    ENTER:



                                             s/ C. Clifford Shirley, Jr.
                                           United States Magistrate Judge




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